Case 6:19-cv-00917-GLS-ML Document 1-1 Filed 07/26/19 Page 1 of 7

Case No.: 6:19-CV-0917 (GLS/ML)

EXHIBIT “A”
26/19 Page 2.06% no. eF2019-498

 

 

 

NYSCEF DOC. NO. 1 RECEIVED NYSCEF: 06/18/2019
STATE OF NEW YORK
SUPREME COURT COUNTY OF OTSEGO
ANTOINETTE M. RAGONA and 7
GIACINTO RAGONA,
Plaintiffs, SUMMONS
~- against - INDEX NO.:
HOME DEPOT U.S.A., INC.,
Defendants.

 

TO THE ABOVE NAMED DEFENDANT:

YOU ARE HEREBY SUMMONED and required to serve upon the Plaintiffs’ attorneys
an answer to the Complaint in this action, within twenty (20) days after the service of this
summons, exclusive of the day of service, or within thirty (30) days after service is complete if
this summons is not personally delivered to you within the State of New York. In case of your
failure to answer, judgment will be taken against you by default for the relief demanded in the
complaint.

Plaintiffs designate Otsego County as the place of trial. The basis of venue is that the

Plaintiffs reside in the County of Otsego, State of New York.

By: y) ALLS

Michael L. White, Esq.
MARTIN, HARDING & MAZZOTTI LLP
Attorneys for Plaintiffs
1222 Troy-Schenectady Road
P.O. Box 15141
Albany, New York 12212-5141
(518) 862-1200

Dated: June 18, 2019

1 of 6
: = Pocume nt Ted OF - {26/19 Page 3 of 7
FILED: OTSEG E T 03:13 P g INDEX NO. EF2019-498

 

 

 

NYSCEF DOC. NO. 1 RECEIVED NYSCEF: 06/18/2019
STATE OF NEW YORK
SUPREME COURT COUNTY OF OTSEGO
ANTOINETTE M. RAGONA
and GIACINTO RAGONA,
Plaintiffs, COMPLAINT
- against - INDEX NO.:

HOME DEPOT U.S.A., INC.,

Defendants.

 

The plaintiffs, Antoinette M. Ragona and Giacinto Ragona, complaining of the Defendant,
Home Depot U.S.A., Inc., by and through their attorneys, Martin, Harding and Mazzotti LLP,

allege as follows:

S, That at all times hereinafter mentioned, plaintiffs Antoinette M. Ragona and
Giacinto Ragona were and still are residents of the City of Oneonta, County of Otsego, State of
New York.

2, Upon information and belief, at all times hereinafter mentioned, defendant Home
Depot U.S.A., Inc, was and still is a foreign business corporation existing pursuant to the laws of
the State of Delaware, that is licensed to do business in the State of New York, with its principa!
place of business located in the City of Atlanta, State of Georgia.

3. Upon information and belief, at all times hercinafter mentioned, defendant Home
Depot U.S.A., Inc. owned and/or leased the premises commonly known as “Home Depot” located
at 659 State Highway 28, in the County of Otsego, State of New York.

4, The incident complained of occurred on or about May 4, 2017, at approximately
8:30 p.m. on the premises known as Home Depot, Store #6173, located at 659 State Highway 28,

in the City of Oneonta, County of Otsego, New York (hereinafter the “subject premises”).

2 of 6
26/19 Page 40% no. er2019-498

FILED: OTS :
NYSCEF DOC. NO. 1 RECEIVED NYSCEF: 06/18/2019

 

5. Upon information and belief, at all times hereinafter mentioned, defendant Home
Depot U.S.A., Inc. operated defendant Home Depot U.S.A., Inc. at the subject premises.

6. Upon information and belief, at all times hereinafter mentioned, defendant Home
Depot U.S.A., Inc. was the lessee of the subject premises.

AND FOR A FIRST CAUSE OF ACTION AGAINST

DEFENDANT HOME DEPOT U.S.A., INC.

7. Plaintiffs repeat, reiterate and reallege each and every allegation contained in the
Complaint herein, all with the same force and effect as though set forth fully at this point,

8. Upon information and belief, at all times hereinafter mentioned, defendant Home
Depot U.S.A., Inc, through its officers, employees, agents and/or servants, controlled the subject

premises,

9. Upon information and belief, at all times hereinafter mentioned, defendant Home
Depot U.S.A., Inc. through its officers, employees, agents and/or servants, managed the subject
premises,

10. Upon information and belief, at all times hereinafter mentioned, defendant Home
Depot U.S.A., Inc. through its officers, employees, agents and/or servants, maintained the subject
premises,

11, The defendant Home Depot U,S.A., Inc. had a duty to maintain the premises in a
reasonably safe condition for persons, including plaintiff Antoinette M, Ragona who was lawfully

present on the subject premises.

12, Atall times herein relevant, defendant Home Depot U.S.A., Inc., through one of its
employees, negligently, carelessly, and recklessly stacked heavy merchandise dangerously high
and in an uneven manner on a moving wheeled cart, creating a hazardous condition on the subject

premises.

3 of 6
26/19 Page She NO. EF2019-498

 

 

NYSCEF DOC. NO. 1 RECEIVED NYSCEF: 06/18/2019

13, Defendant Home Depot U.S.A., Inc., through one of its employees, directed and or
caused plaintiff Antoinette M. Ragona to push an overloaded cart in an unsafe manner towards the
register which caused the plaintiff's injuries,

14, At all times herein relevant, defendant Home Depot U.S.A., Inc., had to duty to
eliminate and/or protect the public, including the Plaintiff herein, from any dangerous, unsafe
and/or hazardous conditions, from merchandise stacked dangerously high on a moving wheeled
cart on the subject premises.

15. That on or about May 4, 2017, at approximately 8:30 p.m., an employee and/or
agent of the defendant Home Depot U.S.A., Inc., carelessly stacked multiple large boxes of heavy
tiles on a moving wheeled cart in an uneven manner.

16. That on or about May 4, 2017, at approximately 8:30 p.m., an employee and/or
agent of the defendant Home Depot U.S.A., Inc., directed plaintiff Antoinette M. Ragona to push
an overloaded cart containing large boxes of heavy tiles in an unsafe manner resulting in the large
boxes of heavy tiles falling on the plaintiff Antoinette M. Ragona, and causing the plaintiff to
sustain serious personal injuries.

17, That Home Depot U.S.A., Inc. had actual notice and knowledge of the dangerous
conditions existing on said premises or should have had such notice and knowledge,

18. That defendant Home Depot U.S.A., Inc. had constructive notice and knowledge of
the dangerous conditions existing on said premises or should have had such notice and knowledge.

19. That defendant Home Depot U.S.A., Inc., through its officers, agents/servants
and/or employees, caused, created, and/or significantly contributed to the dangerous, hazardous

and/or unsafe condition on said premises.

4 of 6
: 26/19 Page 6.Phd. no. EF2019-498
NYSCEF DOC. NO. 1 RECEIVED NYSCEF: 06/18/2019

 

 

20. That as a result of defendant Home Depot U.S.A., Inc.’s negligence, plaintiff
Antoinette M. Ragona was caused serious and permanent injuries as hereinafter alleged, without
any negligence on the part of the Plaintiff contributing thereto.

21, Plaintiff Antoinette M. Ragona sustained great bodily injury so that she has been
permanently, externally, internally and otherwise injured; and has and continues to suffer pain and
discomfort all to her damage in a sum of money having a present value that excceds the

jurisdictional limits of all lower courts that would otherwise have jurisdiction of this matter.

AS AND FOR A SECOND CAUSE OF ACTION AGAINST THE DEFENDANT

22. Plaintiffs repeat, reiterate and reallege each and every allegation contained in the
Complaint herein, all with the same force and effect as though set forth fully at this point.

23. That at all times hereinafter mentioned, plaintiff Giacinto Ragona was and still is
the lawful husband of the plaintiff Antoinette M. Ragona, and as such, lived and cohabited with
her and was entitled to her society, services, consortium and companionship.

24, Solely of the defendant’s negligence as alleged herein, plaintiff Giacinto Ragona
was caused to sustain the loss of society, companionship and consortium of his wife, plaintiff
Antionette M. Ragona.

25. By reason of the foregoing, plaintiff Giacinto Ragona has been damaged by the
defendant in a sum of money in excess of monetary jurisdiction of all lower courts that would
otherwise have jurisdiction over this action,

WHEREFORE, Plaintiffs demand judgment against the Defendant on the First and
Second Causes of Action, and for monetary damages in an amount having a present value that

exceeds the jurisdictional limits of all lower courts that a jury finds to be fair, adequate and just,

5 of 6
26/19 Page The NO. EF2019-498
RECEIVED NYSCEF: 06/18/2019

 

 

 

NYSCEF DOC. NO. 1

together with the costs and disbursements of this action and for such other and further relief as to

this Court seems just and proper.

DATED: June 18, 2019

By: VW AW Li,
Michael L. White, Esq.
MARTIN, HARDING & MAZZOTTI LLP
Attorneys for Plaintiffs
1222 Troy-Schenectady Road
P.O. Box 15141
Albany, New York 12212-5141
(518) 862-1200

6 of 6
